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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 GALE CLAPPER,
                                                    Case No. 20-cv-02635
                Plaintiff,
                                                    Hon. Manish S. Shah
          v.                                        Magistrate Judge Maria Valdez

 UNITED AIRLINES, INC.; ABC
 INSURANCE COMPANY,

                Defendants.

     DEFENDANT’S UNOPPOSED MOTION FOR AN EXTENSION OF TIME TO
             RESPOND TO PLAINTIFF’S MOTION TO COMPEL
               Defendant United Airlines, Inc. (“United”), by and through its attorneys, Sean C.

Herring, Howard Shapiro, and Dana S. Elfvin of Jackson Lewis P.C., moves for an unopposed 7-

day extension of time to file its response to Plaintiff Gale Clapper’s Motion to Compel (Docket

No. 55), up to and including October 29, 2021. In support of this motion, United states as follows:

       1.      On October 15, 2021, Plaintiff filed her Motion to Compel (Docket No. 55).

       2.      On October 18, 2021, the Court entered an Order setting the deadline for United’s

response to Plaintiff’s Motion as October 22, 2021 (Docket No. 57). United requires additional

time to evaluate and respond to Plaintiff’s Motion.

       3.      United therefore requests a brief extension of time, up to and including October 29,

2021, to respond to Plaintiff’s Motion to Compel.

       4.      On October 21, 2021, counsel for United, Sean Herring, contacted counsel for

Plaintiff, Carlos Pastrana, via e-mail, and Mr. Pastrana stated that Plaintiff does not oppose this

motion.
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       5.      United does not bring this motion for purposes of delay or for any other improper

purpose. United simply requires an extension of time to finalize its response.

       WHEREFORE, Defendant United Airlines, Inc. respectfully requests that the Court grant

its unopposed motion and extend the deadline for it to respond to Plaintiff’s Motion to Compel by

7 days, or to October 29, 2021.



Dated: October 22, 2021                      Respectfully submitted,

                                             UNITED AIRLINES, INC.

                                             By: /s/ Sean C. Herring

                                             Sean C. Herring
                                             Howard Shapiro (pro hac vice)
                                             Dana S. Elfvin
                                             Jackson Lewis P.C.
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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on October 22, 2021, a true and correct copy of the

foregoing DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO

RESPOND TO PLAINTIFF’S MOTION TO COMPEL was filed with the Court by electronic

filing protocols, and that same will therefore be electronically served upon all attorneys of record

registered with the Court’s ECF/CM system.


                                                              /s/ Sean Herring


4845-2790-7522, v. 1




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